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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 09-61474-Civ-Lenard/Turnoff

 ALAN R. DROSSIN, on behalf of
 himself and all others similarly situated,

         Plaintiff,

 v.

 MEDICREDIT, INC.,

       Defendant.
 _______________________________/

                                FINAL ORDER AND JUDGMENT

         Based upon the submissions of the parties, and based upon this Court’s Amended Order

 Approving Class Action Settlement (ECF No. 66), it is hereby

         ORDERED, ADJUDGED AND DECREED as follows:

         1.      This Final Order and Judgment incorporates herein and makes a part hereof (I) the

 Class Settlement Agreement (DE 42-1), attached to the parties’ August 10, 2011 Motion for

 Preliminary Approval (ECF No. 42), and the Exhibits thereto.

         2.      A class for settlement purposes is hereby finally certified (the “Class”) consisting of

 all United States residents for whom Defendant left a pre-recorded telephone message in which it

 failed to disclose that the communication was from a debt collector or failed to make meaningful

 disclosure of its identity (ii) in an attempt to collect a debt for ambulance services (iii) arising from

 an alleged debt due the City of Burbank Paramedic Services (iv) during the one-year period prior to

 the filing of the complaint in this matter through the date of class certification.



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          3.    The terms and provisions of the Class Settlement Agreement, including all exhibits

 thereto, have been entered into in good faith and are hereby fully and finally approved as fair,

 reasonable, and adequate as to, and in the best interests of, each of the parties and the Class

 Members. The parties and the Class Members are hereby directed to implement and consummate the

 Class Settlement Agreement, according to its terms and provisions.

          4.    The Court finds that the distribution of Notice to the Class, as implemented,

 constituted notice that (I) was reasonably calculated, under the circumstances, to apprize Class

 Members of the pendency of the action, their right to object or to exclude themselves from the

 proposed settlement, and their right to appear at the Fairness Hearing; (ii) was reasonable and

 constituted due, adequate, and sufficient notice to all persons entitled to be provided with notice; and

 (iii) fully complied with the requirements of the United States Constitution and the Rules of the

 Court.

          5.    The Plaintiff, as representative of the Class, and Lead Plaintiff's counsel have

 adequately represented the Class for purposes of entering into and implementing the settlement.

          6.    The terms of the Class Settlement Agreement, this Court’s Amended Order

 Approving Class Action Settlement, and this Final Order and Judgment shall be forever binding on,

 and shall have res judicata and preclusive effect in, all pending and future lawsuits maintained by

 Plaintiff and all other Class Members, as well as their heirs, executors and administrators,

 successors, and assigns.

          7.    "The Effective Date" means the expiration of 10 days from the date this Final Order

 becomes a final, non-appealable order.


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        8.      On the Effective Date, Defendant shall provide the Class Administrator with the

 names and addresses of the Class Members and pay the amount of $40,000.00 to the Class

 Administrator nominated above as a settlement check for pro rata distribution to each Class Member

 who does not timely opt out, object to or exclude himself or herself from the Class settlement after

 receiving the Notices of the Proposed Settlement to the Class Members. The Class Administrator

 shall mail and distribute pro rata the settlement checks to all Class Members who did not timely opt

 out or object to the settlement.

        9.      On May 26, 2011, Counsel for Plaintiff filed a Motion for Attorneys Fees and Costs.

 (ECF No. 58). Based upon the Motion, the Memorandum in Support (ECF No. 59), and the

 Affidavits submitted by counsel for Plaintiff (ECF No. 60) and attorney Scott Owens (ECF No. 61)

 in support thereof, the Court finds that Plaintiff’s counsel’s hourly rate of $350.00 is reasonable; the

 Court further finds that 47.47 hours is a reasonable amount of time expended in connection with this

 matter, and that costs in the amount of $391.00 are reasonable. Thus, the Court awards Plaintiff the

 amount of $16,614.50 in attorney’s fees for prosecuting this action, plus costs and expenses in the

 amount of $391.00, for a total award in the amount of $17,005.50, to be paid in accordance with

 paragraph 10 infra.

        10.     Within 20 days after the Court enters an order determining and awarding Plaintiff’s

 costs and attorney fees, or on the Effective Date, or upon the resolution of any appeal of the award

 of fees to Plaintiff’s counsel, whichever is later, Defendant shall provide Plaintiff’s counsel with a

 check in the amount of costs and attorney fees awarded by the Court.

        11.     Within 30 days following the last void date of the Class members’ checks, any


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 uncashed checks or undistributed funds will be distributed by the Class Administrator to the National

 Consumer Law Center as a cy pres award for use towards consumer representation, education or

 advocacy.

         12.     The following Release, which is also set forth in the Class Settlement Agreement, is

 expressly incorporated herein in all respects and is effective as of the date of this Final Order and

 Judgment:

         Release. Upon the Effective Date, Plaintiff and all Class Members (“Releasors’) release and

 discharge Defendant and its predecessors and successors in interest and present and former

 subsidiaries, insurers, officers, directors, agents, employees, members, shareholders, general partners,

 limited partners, beneficiaries, representatives, heirs, attorneys or assigns (collectively, "Released

 Parties"), from all causes of action, suits, claims, or demands, in law or in equity, known or unknown

 at this time, which Releasors now have or ever had against the Released Parties under any legal

 theory, that were brought or that could have been brought in this lawsuit, regarding the content of

 pre-recorded telephone messages. This release is conditioned upon the final approval of this

 Agreement by the Court and the parties meeting their respective obligations as stated herein.

         13.     As further set forth in the Class Settlement Agreement, Defendant does not release

 its claims against any members of the Class for the payment of an alleged debt. The underlying

 alleged debts Defendant sought to collect from members of the Class are not affected by the Class

 Settlement Agreement or this Final Judgment. This Final Judgment does not prevent Defendant from

 continuing to attempt to collect the debts allegedly owed by the Class Members or prevent Class

 Members from asserting any defenses they have to any debts that Defendant may now, or in the


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 future, try to collect.

         14.     The Court has personal jurisdiction over the parties and the Class Members, and it

 has subject matter jurisdiction to approve the Class Settlement Agreement, including all exhibits

 thereto, and enter this Final Order and Judgment. Without in any way affecting the finality of this

 Final Order and Judgment, this Court hereby retains jurisdiction as to all matters relating to the

 administration, consummation, enforcement, and interpretation of the Class Settlement Agreement

 and of this Final Order and Judgment, and for any other necessary purpose.

         15.     Neither this Final Order and Judgment nor the Class Settlement Agreement (nor any

 document referred to herein or any action taken to carry out this Final Order and Judgment) is, may

 be construed as, or may be used as, an admission or concession by or against Defendant of the

 validity of any claim or any actual or potential fault, wrongdoing, or liability whatsoever. Entering

 into or carrying out the Class Settlement Agreement (including the exhibits thereto), and any

 negotiations or proceedings related thereto, shall not in any event be construed as, or deemed to be

 evidence of, an admission or concession with regard to the denials or defenses by Defendant, and

 shall not be offered or received in evidence in any action or proceeding against any party hereto in

 any court, administrative agency, or other tribunal for any purpose whatsoever, other than as

 evidence of the settlement or to enforce the provisions of this Final Order and Judgment and the

 Class Settlement Agreement; provided however, this Final Order and Judgment and the Class

 Settlement Agreement may be filed in any action against or by Defendant or Released Parties (as that

 term is defined supra) to support a defense of res judicata, collateral estoppel, release, good faith

 settlement, judgment bar or reduction, or any theory of claim preclusion or issue preclusion or


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 similar defense or counterclaim.

                16.          This action, including all individual claims and Class claims presented herein, is

 hereby DISMISSED on the merits and with prejudice against Plaintiff and all other Class Members,

 without fees or costs to any party, except as otherwise provided herein.

                DONE AND ORDERED, in Miami, Florida, this 27th day of July 2011.



                                                          __________________________________________
                                                          WILLIAM C. TURNOFF
                                                          UNITED STATES MAGISTRATE JUDGE
 cc: Hon. Joan A. Lenard
     All counsel of record




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